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                                   UNITED STATES DISTRICT COURT
                                        DISTRICT OF MAINE

 MUMINA ALI,                                     *
                                                 *
          Plaintiff                              *
                                                 *
     v.                                          *    CIVIL ACTION NO.
                                                 *
 CITY OF PORTLAND, JEFFREY                       *
 DRUAN, SUNA SHAW and MICHAEL                    *
 SAUSCHUCK                                       *
                                                 *


                             COMPLAINT (JURY TRIAL REQUESTED)

          NOW COMES Plaintiff Mumina Ali and complains as follows:

                                      STATEMENT OF CLAIMS

          1.      Plaintiff seeks money damages from Defendants for violation of her state and

federal constitutional rights.

          2.      Plaintiff was the victim of false arrest, use of excessive force and violations of due

process by Defendants Jeffrey Druan, Suna Shaw, Michael Sauschuck, and the City of Portland

on July 23, 2014 in violation of the Fourth, Eighth and Fourteenth Amendments to the U.S.

Constitution and § 5 and 6-A of the Maine Constitution.

          3.      This lawsuit is brought pursuant to 42 U.S.C. § 1983 and 1988, and 5 M.R.S.A. §

4682- 4684-A.

                                            JURISDICTION

          4.      This Court has jurisdiction over the claims in this Complaint pursuant to 28 U.S.C.

§ 1331 (federal question), 28 U.S.C § 1343 (civil rights) and 42 U.S.C. §§ 1981, 1983, and 1988

(civil rights).




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        5.     This Court has supplemental jurisdiction over the pendent state law claims pursuant

to 28 U.S.C. § 1367.

        6.     This action arises under the United States Constitution as applied to state and/or

local authorities through 42 U.S.C. § 1983 and the Maine Civil Rights Act, 5 M.R.S.A. § 4682 to

4684-A.

                                              VENUE

        7.     Venue is proper in this district based on 28 U.S.C. § 1391(b), as Defendants are

residents of this district and the acts or occurrences giving rise to these claims occurred in this

district.

                                              PARTIES

        8.     Mumina Ali (Mumina and/or Plaintiff) is a resident of Portland, Cumberland

County, State of Maine.

        9.     Defendant City of Portland (Portland) is and was at all pertinent times a political

subdivision of the State of Maine, organized and existing under and by virtue of the laws of Maine.

Plaintiff bases all applicable claims as to Defendant Portland for municipal liability pursuant to

Monell v. Dep’t of Soc. Services of City of New York, 436 U.S. 658 (1978).

        10.    Defendant Jeffrey Druan (Druan) at all pertinent times was a police officer acting

on behalf of the Portland Police Department (PPD), City of Portland, a community policing officer

with the East Bayside Community Policing Center (EBCPC) and acting under the color of state

law. He is sued in his individual capacity.

        11.    Defendant Suna Shaw (Shaw) was at all pertinent times the Community Policing

Coordinator for the EBCPC in Portland, Maine, a Portland employee and, along with unknown

Portland policymakers, had supervisory and final policy-making authority over the EBCPC



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policies and procedures. She was acting under the color of state law. She is sued in her official and

individual capacities.

       12.     Defendant Michael J. Sauschuck (Sauschuck) was at all pertinent times the Police

Chief of the PPD and had final policy-making authority over PPD policies and procedure and

Community Policing Centers (CPC) policies and procedures. He was acting under the color of

state law. He is sued in his official capacity only.

                                   GENERAL ALLEGATIONS

       13.     Plaintiff restates and reasserts all allegations set forth in the previous paragraphs.

       14.     Plaintiff Ali is an African American political refugee from Somalia and a United

States citizen. She spent eight years in a refugee camp in Kenya before moving to the United States

in 2005, and Maine in April 2006.

       15.     Civil war caused Mumina and her four children, then ages 12, 11, 8, and 3 to flee

their farm in Baydowa, Somalia and walk 370 miles to Dadaab, Kenya in 1997. Mumina was nine

months pregnant and gave birth to her fifth child (HA) during the trip. Prior to leaving Somalia,

Mumina’s non-violent tribe was subjected to civil and tribal warfare suffering beatings, torture,

rape and murder. Much of this conduct was committed by military personnel. Members of

Mumina’s family were assaulted during the war.

       16.     At the Ifo Refugee Camp in Dadaab, Kenya, Mumina was beaten by a male

assailant on one occasion and attacked by a man with a knife on another.

       17.     In the United States Mumina and her family have not fared much better. One of her

daughters (SA), suffering from severe Post Traumatic Stress Disorder (PTSD), was repeatedly

harassed by the PPD from the age of 14 until she was 20, ending in or about 2014. A son was




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beaten by a PPD officer for no apparent reason in 2013 and false charges brought against the son

later dismissed.

        18.     The PPD and the CPC twice facilitated the Department of Health and Human

Services (DHHS) taking temporary custody of two of Mumina’s daughters for invalid reasons,

both times proceeding to court hearings and the return of the children to Mumina who was found

to be a fit parent.

        19.        Twice the PPD, Shaw, the CPC and the Portland Housing Authority worked

together to improperly evict Mumina and her family based on false allegations by the PPD and

Shaw.

        20.        It was known to the PPD and EBCPC that SA suffered from periodic mental health

issues. On numerous occasions Mumina and her family turned to the PPD for crisis assistance.

PPD failed to provide crisis intervention and treated the mental issues as law enforcement issues

instead.

        21.     On one occasion in 2013 when crisis intervention was requested for SA, then

suffering from a post-traumatic stress disorder (PTSD) exacerbation, three PPD officers showed

up, barged into Mumina’s house, removed all the occupants, searched the house, and incapacitated

SA by shooting her in the chest with rubber bullets.

        22.     Mumina’s home was searched by the PPD, without a warrant, and without probable

cause on multiple occasions.

        23.     This type of conduct by the PPD, CPC and DHHS in the Somali communities of

Portland was common practice. Although black Americans account for only 7 per cent of

Portland’s population, they represent a disproportionate number of arrests. In 2017 for example,

black Americans accounted for 23% of arrests, and 26.1% of “reported” uses of force in Portland.



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A black American was almost four times more likely to be subjected to the use of force in 2017

than a white American. This is not new.

       24.     In 2013, the last time arrest numbers were compiled in Portland before the George

Floyd killing, and following the death of Michael Brown in Ferguson, Missouri, 18% of all

Portland arrests were of black Americans, who were 2.73 times more likely to be arrested than

white Americans. This number was higher than the national average of 2.42. Defendant Sauschuck

not only was aware of these disparities in Portland policing, but spoke on the subject in 2014.

       25.     At all pertinent times PPD policies and procedures lacked sufficient de-escalation

training, mental health training and focused primarily on weapons training in use of force

situations. The PPD lacked adequate implicit bias training, and/or arrest and use of force training

involving the arrest of black Americans and non-English speaking suspects.

       26.     The PPD lacked adequate policies and training in the use of five-point restraints

and the risk of asphyxiation as a result of compressing an arrestee in a prone position with weight

on the back, particularly when combined with behind the back handcuffing and the subject in a

stomach-down position.

       27.     At all pertinent times the PPD lacked adequate investigatory procedures for

ascertaining unnecessary force events and for investigating complaints against police officers for

unnecessary force and illegal arrest and failed to adequately investigate such claims.

       28.     At all pertinent times investigations of complaints by black Americans and

specifically Somali refugees were inadequate, in part because inadequate translation services were

used by the investigating committee and because no signed or recorded statement was taken from

non-English speaking complainants.




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       29.     A Portland Police Citizen Review Subcommittee (CRS) was utilized solely for the

purpose of assessing whether a police misconduct investigation was “thorough, objective, fair and

timely”. The CRS had no authority to hold police officers accountable and always approved the

investigatory actions taken by Internal Affairs. The CRS was ineffective and used by Portland as

“cover”.

       30.     At all pertinent times Portland utilized CPC to “manage the hotspots and disorderly

houses” in specific areas of the city. CPC offices were placed only in predominantly black

American public housing locations. The CPC have police and social worker presence in each

location. It was a practice of the CPC to, along with the PPD, improperly designate certain minority

housing as “disorderly houses” in order to exercise discriminatory power and control. It was a

practice of the CPC to use its position of being involved with high risk youth to have the DHHS

improperly investigate and take custody of certain refugee, immigrant and minority children as, in

part, a method of exercising discriminatory power and control over immigrant and minority

families and their culture. The CPC used fear to exercise control over the immigrant minority

population.

       31.     At all pertinent times the PPD and CPC engaged in over-patrolling the immigrant

black American population. Over-patrolling is part of a “broken windows” policy stemming from

the 1980’s which justified continued use of excessive patrolling, fear and force to exert control

over black Americans first begun by police departments in the Northeast United States during the

Jim Crow era. At all pertinent times Patrol cars and/or foot patrol were a constant in the Kennedy

Park area and other minority neighborhoods. PPD officers routinely detained black Americans

between 17 and 25 years old in those areas and questioned and searched them without reasonable

suspicion of involvement in criminal activity.



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       32.     DHHS removal of children from indigenous peoples was a well-known tactic

utilized to try to extinguish indigenous cultures in Maine. As recently as 2001 DHHS removed

20% of the minor children from the Maliseet Tribe in northern Maine. This was five times the

national average of children removed from homes and described as cultural genocide. Black

Americans are also over-represented in the foster care system in the United States. Shaw and the

CPC in alliance with the DHHS and local DHHS social worker Darlene LNU disproportionately

investigated minority children for removal from their families.

       33.     The Maine criminal system incarcerates black Americans at a much higher rate than

white Americans. Overall black Americans represent 1-2% of the Maine population, yet represent

12% of the prison population as of 2018. White Americans represent 94% of the Maine population

yet represent only 83% of the prison population as of 2018. Black Americans are more than twelve

times more likely to be incarcerated in Maine than white Americans. Black Americans are also

sentenced disproportionately in Maine with black Americans accounting for 21 percent of Class

A felony drug offenses in 2018 and disproportionately for other Class A and B felonies.

       34.     Portland at all pertinent times kept race-based crime and arrest statistics as required

by the federal government for Federal Bureau of Investigation analysis.

       35.     On or before July 23, 2014 policymakers for Portland had not effectively addressed

the impact of race-based policing in Portland even though policymakers were aware that black

Americans were disproportionately targeted by the PPD and intentionally subjected to racially

biased policing methods which directly caused civil rights violations of black Americans.

       36.     On July 22, 2014, Mumina’s eldest daughter SA was arrested by PPD and thrown

in jail. Mumina’s youngest child HA, then 16 and tasked with navigating the legal system for the

family because she spoke the best English, called Cumberland County Jail and asked why her sister



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was once again being harassed by the PPD and that it was making HA think of harming herself.

Within a very short amount of time HA was handcuffed with hands behind her back and put in a

police car by EBCPC police Officer Jeffrey Druan. HA had never been in trouble or arrested as a

juvenile and was so upset she vomited in the police car. At or about the morning of July 23, 2014

HA was taken to the Maine Medical Center (MMC).

       37.     HA was not asked by Officer Druan what she meant by saying PPD’s conduct was

making her want to harm herself, nor if she had any present intention of hurting herself. No social

worker was present. Had HA been asked she would have explained that she never intended nor

wanted to harm herself, that she had tried but could not get law enforcement’s attention in any

other way, and as a 16 year old trying to save her sister she made that statement as a last resort.

       38.     Despite other family members presence when HA was taken, Druan did not speak

to anyone or tell them what he was doing or where they could find HA. They had no idea why HA

had been arrested. In desperation Mumina walked to the Portland Police Station, the Cumberland

County Jail, the Mercy Hospital and then finally went to the Maine Medical Center (MMC)

emergency room in search of her daughter.

       39.      In July 2014 Mumina could not read English. She spoke very little and understood

only a bit more. Mumina was able to communicate that she needed a Somali interpreter, and an

MMC employee told Mumina that they would get one. The employee confirmed that HA was at

the MMC. Two translators were contacted but neither spoke traditional Somali, the most common

Somali dialect. The MMC employee continued to search for a third interpreter.

       40.     Towards the end of a three hour wait for an interpreter, Shaw, DHHS social worker

Darcy LNU and Druan who were tending to HA arrived at the MMC Emergency Department

where Mumina was waiting and told Mumina that she had to sign a document. Mumina indicated



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that she was waiting for an interpreter and needed that interpreter to read the document. Upon

information and belief, Shaw, as Community Policing Coordinator knew Somali speaking

individuals and interpreters but made no effort to obtain assistance. Mumina refused to sign the

document without the assistance of an interpreter fearing that the document would sign over

custody of her daughter HA to the DHHS.

       41.     Shaw became frustrated and angry and shoved the document into Mumina’s face

demanding that she sign it. Mumina again refused to sign and Shaw told officer Druan to

immediately remove Mumina from the MMC Emergency Department. Officer Druan aggressively

handcuffed Mumina’s hands behind her back and walked behind her pushing her in the upper back

out the Emergency Department and into the parking area. Mumina was not engaging in any illegal

conduct at the time she was taken into custody and there was no probable cause to believe that she

had or would engage in such conduct. At all times it was clear that Mumina was lawfully in the

MMC Emergency Department seeking to determine what authorities had done with her child.

Mumina was unlawfully detained in violation of clearly established constitutional rights, and

ultimately illegally arrested when the unlawful detention was unreasonably lengthened.

       42.     Mumina suffers from significant health issues including asthma, knee injuries from

an automobile accident, and back problems. She walks slowly. Druan kept pushing Mumina faster

than she could walk. As he pushed her hard from behind her legs gave out and she fell onto the

sidewalk as they approached the main entrance to the MMC. Without the use of her hands to break

the fall Mumina fell forward, chipped one of her teeth and screamed out in pain and alarm.

Immediately Druan put both knees on her back, pushed her head into the ground, then began

choking her from behind with his arm and placed a hand over her mouth to muffle her screams as

she lay prone on the ground. Mumina was terrified and feared for her life because she was being



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choked, unable to breath and in excruciating pain. She tried to communicate to Druan that she

could not breath, but it had no effect. Mumina became dizzy and at some point, lost consciousness.

When she regained consciousness, she vomited.

       43.      Druan called the MMC emergency department. After an unknown amount of time

Mumina was placed in a wheelchair while still handcuffed and taken to the emergency department.

Mumina was terrified, injured and disoriented. MMC records reveal that she was “agitated” and

“yelling”. Mumina was taken to a trauma room, placed face down on the table, and put in a five-

point restraint, effectively “hogtied”. A hospital “sock” was forcibly shoved in her mouth to stop

her from screaming which, combined with being in a prone position, pressure being applied to her

head and neck, and her wheezing, again restricted her breathing and caused her to fear for her life.

MMC personnel assisted officer Druan in “hogtying” Mumina and stuffing the sock in her mouth.

       44.      Shortly after 4 pm Druan and Dr. Higgins determined that they would involuntarily

medicate Mumina and Dr. Higgins gave Mumina three intramuscular shots of a combination of

the antipsychotic medication Haldol and Ativan. Upon information and belief, MMC and the PPD

have developed a “protocol” for dealing with “emergencies” involving Somali and other African

refugee populations.

       45.     Although Mumina never posed a threat of imminent harm to others or herself, at

the time she was involuntarily medicated Mumina was hogtied and for that reason alone posed no

threat of harm to herself or others. In fact, medical records show that although Mumina was

agitated on admission, the only agitated action specifically referenced by Dr. Higgins was

“yelling” prior to the involuntary medication.

       46.     Sometime following the three shots of antipsychotic medication the restraints were

removed and Mumina was placed in a small room and kept there. Six hours later, at 10:22 pm,



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Mumina was released, still under the serious effects of the medications, given a neck brace and

wheeled to the exit. She had to walk home.

       47.     When Druan pushed Mumina to the ground, placed his knees on her back, put her

in a chokehold and then hogtied her he was using excessive force in violation of Mumina’s

constitutional rights as a pretrial detainee. That excessive force caused permanent injury to Ali’s

neck and right shoulder. She required in house medical care assistance for the following week and

was forced to return to the MMC repeatedly for medical attention. She has lost range of motion in

her left arm and shoulder. She is left hand dominant. She is in constant pain and receives treatment

on a consistent basis almost six years later. She has incurred significant medical bills as a result.

       48.     The use of excessive force also severely and permanently emotionally and

psychologically traumatized and injured Mumina.

       49.     Like many refugees in the Somali refugee community Mumina was already fearful

of authority when she came to the United States. Following the incidents of July 23, 2014, she

became more terrified of law enforcement. In an effort to mitigate PTSD symptoms, including

severe anxiety suffered by Mumina when she saw PPD officers or cruisers, HA contacted the PPD

and requested that PPD patrol cars not park adjacent to and/or travel by their house on an almost

hourly basis. Despite those reasonable requests PPD continued its excessive daily and nightly

patrols until 2018 when HA complained to the Portland City manager and demanded that the

patrols be stopped. As a direct and proximate result of the use of excessive force Mumina has lived

in a state of anxiety, depression and heightened arousal, symptoms of her significantly exacerbated

PTSD. She suffers intrusive thoughts from the events of July 23, 2014 and relives those events,

both while dreaming and when awake.




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       50.     On July 24, 2014, the day after the incident, Druan hand delivered to Mumina’s

home a Notice that advised that she and her family were being evicted.

       51.     On August 15, 2014, The Portland Housing Authority (PHA) conducted a hearing

based on the PPD’s complaint. The PHA determined that Mumina and her family should be

evicted. After Mumina sought legal counsel and representation the eviction proceeding was

dismissed because the PPD’s representation as to the disorderly conduct were not credible.

       52.     On July 23, 2014 DHHS took temporary custody of HA and removed her to a group

home in Lewiston. After hearing, the Judge denied DHHS’ petition for custody of HA, determined

that Mumina was fit parent and HA returned home.

       53.     At an unknown date, Suna Shaw individually and on behalf of the EBCPC served

a Notice of Trespass on Mumina precluding Mumina from going to the EBCPC office or receiving

available services from the EBCPC.

       54.     Upon information and belief, the harassment, beatings, attempted evictions and

removal of children by the authorities are consistent with institutional abuse of minorities and

immigrants.

       55.     State law precludes MMC from administering antipsychotic medication without the

consent of the patient or following strict protocols allowing for medication only in the event the

patient is a danger to herself or others. At all pertinent times Mumina was in the custody and

control of the PPD which solicited, approved and ratified the conduct engaged in by the MMC.

       56.     Mumina had a clearly established constitutional right to liberty to be free of

involuntary medication.




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       57.     Upon information and belief Dr. Higgins did not fill out the required forms for

involuntary medication and failed to comply with state regulations and statutory requirements.

PPD violated Mumina’s Fourth, Eighth and Fourteenth Amendment rights and the MCRA.

       58.     Upon information and belief, Defendant Jeffrey Druan failed to fill out a Use of

Force Report despite being required to so by standard operating procedures.

       59.     PPD failed to follow protocol when it was notified of the incident.

       60.     These oversights are normal practice or custom for officers in the PPD, and upon

information and belief, the department does not discipline officers for failing to document their

use of force. PPD does not take seriously the excessive force used by its officers on minority

populations despite widespread community concerns. Use of Force reports are a well-established

best practice for police departments.

       61.     Upon information and belief, PPD did not conduct a reasonable investigation into

Plaintiff’s assault, despite their awareness of it and despite such after-incident investigations being

best practice for police departments. In fact, PPD internal investigations did not even obtain a

written or recorded statement from Mumina as part of the investigation. Without a full statement

being available for review by the CRS it was impossible for them to perform their function

adequately. Upon information and belief, at all pertinent times it was the policy of PPD to not take

written or electronically recorded statements by complainants who did not speak English as a first

language.

       62.     On July 23, 2014, Plaintiff had a clearly established constitutional right to be free

from excessive force.

       63.     Plaintiff did not pose any threat to Defendant Druan, other officers, or civilians.




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         64.    Defendant Druan knew of the danger he placed Plaintiff into by his assault. The

force used was objectively unreasonable under the totality of the circumstances.

         65.    The actions of Defendant Druan constituted clear excessive force. Chokeholds are

not authorized under PPD’s own policies and procedures except where deadly force is authorized

and are the use of deadly force.

         66.    Druan and Shaw de facto arrested Plaintiff without probable cause and subjected

her to an impermissible seizure under the Fourth and Fourteenth Amendments of the U.S.

Constitution.

         67.    Upon information and belief, the City of Portland, and PPD employees have been

sued before for illegal arrest and excessive force violations, and the PPD failed to investigate or

take corrective action to prevent these excessive violations from happening again.

         68.    Defendants’ actions deprived Plaintiff of her right to be free from excessive force

and they were motivated by an unconstitutionally enforced policy, pattern of practice, or custom

by the PPD. The PPD do not enforce their excessive force policies, they do not properly document

incidents of force, they do not adequately investigate allegations of excessive force, and they

engage in a policy, pattern of practice, or custom of failing to reprimand or discipline officers’

use of excessive force.

                                           COUNT I
               42 U.S.C. § 1983 (Fourth Amendment – Excessive Force, False Arrest)
                                   Defendants Druan and Shaw

         69.    All previous paragraphs are incorporated herein by reference as though fully set

forth.

         70.    Plaintiff makes a claim under 42 U.S.C. § 1983 for violation of the Fourth

Amendment of the U.S. Constitution.



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         71.    The Fourth Amendment does not permit Defendants to use excessive force. “The

right to be free from excessive force in the context of an arrest is clearly established under the

Fourth Amendment.” Small v. McCrystal, 708 F.3d 997, 1005 (8th Cir. 2017).

         72.    “We analyze the excessive force claims of pretrial detainees under an objective

reasonableness standard.” Ryan v. Armstrong, 850 F.3d 419, 427 (8th Cir. 2017). Kingsley v.

Hendrickson, 135 S.Ct. 2466, 2473 (2015).

         73.    “Circumstances relevant to the reasonableness of the officer’s conduct include ‘the

severity of the crime at issue, whether the suspect poses an immediate threat to the safety of the

officers or others, and whether he is actively resisting arrest or attempting to evade arrest by flight.”

Brown v. City of Golden Valley, 574 F.3d 491, 496 (8th Cir. 2009) (citation omitted).

         74.    The individual Defendants’ use of force against Plaintiff was not reasonable under

the circumstances and was excessive.

         75.    At all material times, Druan did not have a reasonable fear of imminent bodily

danger from Mumina when he kneeled on her back and applied a chokehold and covered her

mouth.

         76.    Any reasonable police officer would have known that using that degree of force

under the circumstances constitutes excessive force in violation of the Fourth Amendment.

         77.    At all material times Druan did not have a reasonable belief that he or any other

person was in danger of imminent bodily harm when he hogtied Mumina and had a cloth stuffed

in her mouth.

         78.    At all material times Druan did not have a reasonable belief that he, or any other

person, was in danger of imminent harm when he authorized the involuntary medication of

Mumina.



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         79.     As a direct and proximate result of the actions of Defendant Druan, Plaintiff has

suffered damages.

         80.     At all pertinent times Defendants Druan and Shaw were aware that Mumina was

lawfully in the Emergency Department at the MMC. They had no reasonable suspicion that

Mumina had engaged in any type of criminal activity. At the time Shaw ordered Mumina to be

removed from the Emergency Department, and Druan did so, Mumina was improperly detained

and/or arrested in violation of her Fourth and Fourteenth Amendment rights.

         WHEREFORE Plaintiff requests that this Court enter judgment in the amount of $750,000

for the plaintiff and award compensatory and exemplary damages, attorneys' fees, interest and such

other and further relief as this court finds just.

                                          COUNT II
         42 U.S.C. § 1983 (Monell) City of Portland, Michael Sauschuck and Suna Shaw

         81.    All previous paragraphs are incorporated herein by reference as though fully set

forth.

         82.    Municipal bodies are liable for constitutional violations under 42 U.S.C. § 1983

when execution of its official policy or custom deprives an individual of its rights protected under

the Constitution. Monell, 436 U.S. at 694-95.

         83.    Such municipal liability exists where a city fails to properly train, supervise, and

discipline its employees amounting in a deliberate indifference to one’s constitutional rights. See

City of Canton, Ohio v. Daniels, 717 F.2d 932, 936 (4th Cir. 1983).

         84.    At all times relevant, Portland, Police Chief Sauschuck and Suna Shaw in her

supervisory capacity at EBCPC, and other unknown policymakers, had a duty to properly train,

supervise, and discipline their employees and agents in the use of force, and specifically the use of

force regarding black American minorities and refugees.

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        85.     Defendants breached that duty in part, by:

                a.      Improperly training, authorizing, encouraging or directing officers on
                        proper use of force and the effects of implied bias on that use of force.
                b.      Failing to adequately investigate allegations of excessive and/or deadly
                        force.
                c.      Failing to meaningfully discipline officers for violations of policy related
                        to excessive force.

        86.     The policy, pattern of practice, or custom of condoned misconduct is tacitly or

overtly sanctioned, as evidenced by the conduct of Defendant Druan, Suna Shaw and Portland’s

failure to train, supervise, investigate, and meaningfully discipline Druan for his involvement in

this incident amounting to deliberate indifference to Plaintiff’s constitutional rights.

        87.     This unconstitutional behavior of officers is carried out pursuant to a policy, pattern

of practice, or custom, whether formal or informal, which violates the constitutional rights of

persons situated such as the Plaintiff.

        88.     It was a policy, pattern of practice or custom that police officers not report use of

force as required.

        89.     The use of over-policing, Broken Window policing, excessive force, warrantless

searches, improper eviction and child removal methods establishes an overt policy, pattern of

practice, or custom of condoned misconduct and is causally related to the violations of Mumina’s

civil rights.

        90.     Portland, acting through its policymakers, had knowledge of PPD’s harassing and

unconstitutional patterns and practices and knowledge that the same gave rise to a risk of violations

of citizens’ federal rights.

        91.     Portland, acting through its policymakers, made a deliberate and/or conscious

decision to disregard the known risk of harm that would result from the PPD’s unconstitutional

patterns and practices and was deliberately indifferent to and/or tacitly authorized the same.

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        92.     On or before July 23, 2014, Portland, with deliberate indifference to the rights of

arrestees, detainees, and the like, tolerated, permitted, failed to correct, promoted, or ratified a

number of customs, pattern, or practices that failed to provide for the safety of arrestees, detainees,

and the like during arrest, including but now limited to the handcuffing and restraint process.

        93.     On or before July 23, 2014, Portland, with deliberate indifference to the rights of

arrestees, detainees, and the like, tolerated, permitted, failed to correct, promoted, fostered or

ratified a number of customs, patterns, or practices that condoned and required officers to treat

members of the Black Community of Portland differently, including but not limited to

implementing the use of excessive force at a higher rate against black Americans who did not pose

a threat to officers.

        94.     On or prior to July 23,2014, Portland, with deliberate indifference to the rights of

arrestees, detainees, and the like, tolerated, permitted, failed to correct, promoted, or ratified a

number of customs, patterns, or practices that shall be further identified in discovery.

        95.     As a direct proximate cause of the actions of the Defendants, Plaintiff has suffered

damages.

        WHEREFORE Plaintiff requests that the Court enter judgment in the amount of $750,000

on behalf of the plaintiff and award compensatory and exemplary damages, costs, attorneys' fees,

interest and such other and further relief as this court deems just.

                                     JURY TRIAL DEMAND

        96.     Plaintiff demands trial by jury on each count so triable.




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    Dated July 22, 2020 in Portland, Maine.

                                        Respectfully submitted,

                                        /s/ Thomas F. Hallett
                                        __________________________________
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